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                           Exhibit “A”
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

ORALEE SPIVEY,

         Plaintiff,
                                         CASE NO.: 8:19-CV-02874-SCB-
vs.                                      TGW

ALLEN CONNER ENTERPRISES,
INC., a Florida For Profit
Corporation, and GLEN CONNER,
Individually,

         Defendants.                 /

              SETTLEMENT AGREEMENT AND RELEASE OF WAGE CLAIMS

         This Settlement Agreement and Release of Wage Claims (the “Agreement”) is

entered into by and between the Plaintiff, ORALEE SPIVEY, Individually, and

Defendants, ALLEN CONNER ENTERPRISES, INC., and GLEN CONNER. (collectively

“the Parties”).

         WHEREAS, on November 21, 2019, Plaintiff filed a civil action against Defendants

in the United States District Court, Middle District of Florida, Tampa Division, seeking

redress for alleged violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et

seq., Case Number8:19-CV-02874-SCB-TGW; and

         WHEREAS, Defendants deny all allegations in the Lawsuit; and

         WHEREAS, the Parties hereto have agreed to resolve any and all claims of any

nature whatsoever Plaintiff has arising out of or related to the payment of wages during

her employment with Defendants, including, but not limited to, those allegations set forth

in the Lawsuit; and

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       NOW THEREFORE, in exchange for promises and consideration set forth below,

the sufficiency of which is hereby acknowledged, the Parties have agreed as follows:

       1.         Recitals. The above recitals are true and correct and are incorporated below

as if fully set forth therein.

       2.         In exchange for the consideration set forth in Paragraph 3 below, Plaintiff,

for herself and her attorneys, heirs, executors, administrators, successors and assigns,

hereby waives and releases, knowingly and willingly, Defendants, ALLEN CONNER

ENTERPRISES, INC., and GLEN CONNER (the “Released Parties”), from any and all

wage claims of any nature whatsoever Plaintiff has arising out of or related to the

payment of wages during her employment with Defendants, known or unknown,

including, but not limited to, any claims Plaintiff may have under the Fair Labor

Standards Act (“FLSA”), the Florida minimum wage statute, and any and all other

applicable state, federal, county, or local ordinances, statutes or regulations, including

claims for attorneys’ fees which relate to the payment of wages. Plaintiff also represents

and certifies that she has received full payment for all hours worked while employed by

Defendants, including, but not limited to, minimum wage, overtime hours, bonuses,

vacation pay, and any other paid time off.

       3.         In exchange for and in consideration of the Releases and promises of Plaintiff

in this Agreement, Defendants agree to pay a total sum of ELEVEN-THOUSAND

DOLLARS AND 00/100ths ($11,000.00). The payment will be tendered as follows:

             i.         One (1) check payable to ORALEE SPIVEY in the gross amount of
                        $3,250.00, as taxable wages, less appropriate taxes and withholdings,
                        to represent the unpaid wages claim. An IRS Form W-2 will be issued
                        to Plaintiff for this amount. Plaintiff must provide a fully completed

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                    and executed IRS Form W-4 to counsel for Defendants along with the
                    executed Agreement; and

            ii.     One (1) check payable to ORALEE SPIVEY in the gross amount of
                    $3,250.00, as liquidated damages. An IRS Form 1099 will be issued to
                    Plaintiff for this amount. Plaintiff must provide a fully completed and
                    executed IRS Form W-9 to counsel for Defendants along with the
                    executed Agreement; and

           iii.     One (1) check payable to Morgan & Morgan, PA in the amount of
                    $4,500.00 representing attorneys’ fees and costs. Morgan & Morgan,
                    PA must provide a fully completed and executed IRS Form W-9 to
                    counsel for Defendant along with the executed Agreement.

Plaintiff is specifically aware of and agree with, the amount of attorneys’ fees and costs to
            be paid to their counsel for representing her interests in this matter.

      4.      The settlement sum will be delivered to Plaintiff’s counsel within ten (10)

days following: (1) the Court’s approval of this Agreement; (2) dismissal with prejudice of

Plaintiff’s claims in the Lawsuit; (3) Plaintiff’s delivery of completed IRS forms W-4 and

W-9 to Defendants’ counsel, and (4) Plaintiff’s counsel’s delivery of a completed IRS Form

W-9 for Morgan & Morgan, PA to Defendants’ counsel.

      5.      Plaintiff shall direct her attorney(s) to prepare and file all necessary

documents to obtain the Court’s approval of this Agreement and dismissal of her claims in

the Lawsuit with prejudice.

      6.      The Parties hereto agree that this Agreement is not, in any way an admission

by Defendants of any allegation, issue, fact, or conclusion of law involving, concerning, or

in any way relating to the Lawsuit. Rather, Defendants deny having committed any

violation of the law.

      7.      The Parties hereto agree and acknowledge that this Agreement shall not be

interpreted to render Plaintiff to be a prevailing Party for any purpose, including, but not

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limited to, any award of attorneys’ fees under any law. The Parties hereto further agree

that, subject to the terms and contained in this Agreement, the Parties are solely

responsible for their respective costs and fees incurred as a result of this Lawsuit. Plaintiff

is responsible for payment of any and all taxes applicable to any settlement monies

received. In the event the Internal Revenue Service or other taxing authority challenges

the above allocation, the Parties agree to work together cooperatively in connection with

any such challenge. Plaintiff shall be solely responsible for paying all taxes and penalties

related to the settlement sum. Plaintiff agrees to indemnify and hold Defendants harmless

from any liability, claims, suits, judgments, and damages that arise as a result of any

failure by Plaintiff to pay all taxes for which she is responsible.

      8.     This Agreement, subject to the terms and conditions stated within, is

effective upon execution by Plaintiff. Should any provisions of this Agreement (other than

the Release of Claims provision) be determined to be invalid by a court of competent

jurisdiction, the Parties agree that this shall not affect the enforceability of the other

provisions of the Agreement. This Agreement constitutes a single integrated contract

expressing the entire agreement of the Parties with respect to Plaintiff’s claims in the

Lawsuit and supersedes all prior and contemporaneous oral representations, agreements

and discussions with respect to the Lawsuit and Plaintiff’s claims therein.

      9.     The failure by either party to declare a breach or otherwise to assert its

rights under this Agreement shall not be construed as a waiver of any right that party has

under this Agreement.




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      10.    This Agreement shall be governed by, and construed in accordance with, the

laws of the State of Florida, without reference to principles of conflict of laws. The Parties

further agree that any action to enforce this Agreement shall be brought in a state or

federal court of competent jurisdiction within Polk County, Florida. Each party hereby

expressly waives any and all rights to bring any suit, action or other proceeding in or

before any court or tribunal other than the courts described above and covenants that it

shall not seek in any manner to resolve any dispute other than as set forth in this

paragraph or to challenge or set aside any decision, award or judgment obtained in

accordance with the provisions hereof.

      11.    In the event that any of the Parties breach any of the provisions of this

Agreement, the non-breaching Party will be entitled to bring suit to recover any and all

alleged damages, both direct and consequential, that may be sustained and, in addition,

will be entitled to specific performance and/or a temporary or permanent injunction

prohibiting and enjoining the breaching Party from violating this Agreement. If the non-

breaching Party should prevail in such suit, the breaching Party shall compensate the

non-breaching Party for any and all attorneys’ fees, costs, and expenses incurred in

enforcing this Agreement.

      12.    The Parties agree and acknowledge that this Agreement was drafted by all

Parties and their counsel. The language of this Agreement shall be construed as a whole,

according to its fair meaning, and not strictly for or against either Party.

      13.    Plaintiff acknowledges that she has been fully advised to consult with an

attorney as to the terms and provisions of this Agreement and has, in fact, done so.


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Plaintiff represents that she has had the opportunity to consult legal counsel of her own

choosing before signing this Agreement, and has carefully read the Agreement and has

been fully advised as to its terms.

      14.    Plaintiff acknowledges she is signing this Agreement knowingly and

voluntarily, that she has read and understood all of the terms of this Agreement, and that

she does not rely on any representation or statement, written or oral, not set forth in this

Agreement and Release. Plaintiff further acknowledges and understands that she has

accepted the settlement sum referenced in this Agreement in full satisfaction of any and

all wage claims of any nature whatsoever Plaintiff has arising out of or related to the

payment of wages during her employment with Defendants up to the date she executes

this Agreement, and Plaintiff affirmatively intends to be legally bound thereby. Plaintiff

hereby agrees and acknowledges that she is not entitled to receive any additional

consideration or benefits from Defendants, other than as expressly provided herein.

      15.    This Agreement may be executed in counterparts and each counterpart, when

executed, shall have the efficacy of a second original. Photographic or facsimile copies of

any such signed counterparts may be used in lieu of the original for any purpose.

      16.    The entire Agreement is type-written and no handwritten or stray makings

on this document, with the exception of the Parties’ signatures, shall have any effect on

the terms of this Agreement. This Agreement may not be modified, altered, or changed

except upon approval of the Court.

PLAINTIFFS ACKNOWLEDGES THAT SHE IS SIGNING THIS AGREEMENT
KNOWINGLY AND VOLUNTARILY, THAT SHE IS REPRESENTED BY COUNSEL,
THAT SHE HAS READ AND UNDERSTOOD ALL OF THE TERMS OF THIS
AGREEMENT, AND THAT SHE DOES NOT RELY ON ANY REPRESENTATION OR

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STATEMENT, WRITTEN OR ORAL, NOT SET FORTH IN THIS AGREEMENT.
PLAINTIFF FURTHER ACKNOWLEDGES AND AFFIRMS THAT THIS AGREEMENT
IS A FULL, COMPLETE, IRREVOCABLE AND UNCONDITIONAL RELEASE OF ALL
WAGE CLAIMS THAT SHE MAY NOW HAVE AGAINST THE RELEASED PARTIES IN
THIS LAWSUIT, AND THAT SHE EXECUTED THIS AGREEMENT VOLUNTARILY
WITH FULL KNOWLEDGE OF ITS SIGNIFICANCE AND THE CONSEQUENCES
THEREOF.


                       03/31/2020
_____________________________________
ORALEE SPIVEY            Date



                        April 1, 2020
_____________________________________
GLEN CONNER              Date



                         April 1, 2020
_____________________________________
By:                      Date
For ALLEN CONNER ENTERPRISES, INC.




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